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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                     :
    MARK HOLBROW,                                    :              CIVIL ACTION
                                                     :
                                                     :
                 Plaintiff,                          :
                                                     :
                         v.                          :              No. 21-819
                                                     :
    MYLIFE.COM, INC.                                 :
                                                     :
                 Defendant.                          :
                                                     :

                                                ORDER

        AND NOW, this 10th day of November, 2021, upon consideration of Defendant,

MyLife.com, Inc.’s “Motion to Dismiss Or, In The Alternative, Motion To Compel Arbitration”

(ECF No. 12), and Plaintiff’s response in opposition (ECF No. 13), and for the reasons set forth in

my accompanying Memorandum Opinion, it is hereby ORDERED as follows:

     1. Defendant’s Motion (ECF No. 12) is DENIED without prejudice.

     2. The parties shall conduct limited discovery on the narrow issue of whether an agreement

        to arbitrate the present dispute exists.

     3. On or before February 8, 2022, Defendant shall refile its Motion on this issue, pursuant

        to Federal Rule of Civil Procedure 56. 1

     4. On or before March 1, 2022, Plaintiff shall file a response.

                                                   BY THE COURT:


                                                   /s/ Mitchell S. Goldberg
                                                   MITCHELL S. GOLDBERG, J.


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       Once the issue of arbitrability is resolved, Defendant may refile its Motion to Dismiss, pursuant to
Rule 12(b)(6), if necessary.
